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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                                :
                                                         : CASE NO. 5:05 cr 131-48
                                             Plaintiff   :
                                                         :
                         -vs-                            :
                                                         :
 ROSS CIPOLLA                                            :
                                                         :
                                         Defendant       :
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UNITED STATES DISTRICT JUDGE LESLEY WELLS


        Defendant, Ross Cipolla, was sentenced on 29 August 2006. This case is

before the Court on a Notice of Appeal, with a request to have the Court appoint

counsel, which was filed by Ross Cipolla (Doc. #975). The Court appoints Philip

Korey, 410 Leader Building, 526 Superior Avenue East, Cleveland, Ohio 44114

(216/771-7030) to represent the defendant on appeal. The Clerk is directed to send a

copy of this order to Mr. Korey at the address given above.

        IT IS SO ORDERED.



                                                         /s/Lesley Wells
                                                       UNITED STATES DISTRICT JUDGE

Dated: 25 September 2006
